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                    EXHIBIT A




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                                                                                                                                                      SUM-100
                                         SUMMONS                                                                     (
                                                                                                                        FOR COURT USE ONLY
                                                                                                                      SOLO PARA USO OE LA CORTE)
                                    (CITACION JUDICIAL.)
 NOTICE TO DEFENDANT:
                                                                                                                 CONFORMED COPY
(AVISO AL DEMANDADO):                                                                                               ORIGINAL FILED
                                                                                                                 Superior Court of California
  TIFFANY AND COMPANY,a New York corporation; and DOES 1                                                           County of Los Angeles
  through 100, inclusive,
 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                        J UL 27 2021
(LO ESTA DEMANDANDO EL DEMANDANTE):
  TIM BERMEJO, individually, and on behalf of other members of the                                         SOW R.Carter,Executrve OfficariCierk of Ctur1
  general public similarly situated;
   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this Court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center(www courtinfo ca gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site(www lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www courtsnfo ca gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  tAVISOI Lo han demandado Si no responde dentro de 30 dlas, la carte puede decrdir en su contra sin escuchar su versi6n. Lea la informaciOn a
  continuao6n
     Dena 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciem y papa/es regales para presenter una respuesta par escrito en esta
 carte y tracer que se entregue una copia al demandante Una carta o una Ilamada teletnica no lo protegert Su respuesta par escrito tiene que ester
  en formato legal correcto Si desea que procesen su caso en la carte. Es posrble que haya un fonnulario que usted puede user para su respuesta
 Puede encontrar estos formulanos de la carte y mas informaciOn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  bsblioteca de leyes de su condado o en la carte que le quede ms cerca Si no puede pager la Cuate de presentacion, pida at secretario de la cone
  que le cla un formulano de exencrOn de pago de cuotas Sr no presenta su respuesta a tiempo, puede percler el caso par incumplimiento y la corte le
  podra guitar su sueldo, chnero y bienes sin mas advertencia.
    Hay otros requisitos regales Es recomendable que Ilame a un abogado inmediatamente Si no conoce a un abogado, puede Ilamar a un servicio de
  remrsiOn a abogados Sr no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios regales gratuitos de un
  programa de servrcros regales sin fines de rum. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services.
 (www.lawhelpcalifornia.org). en el Centro de Ayuda de las Cortes de California,(www.sucorte.ca.gov) o poniandose en contacto con la carte o el'
 colegro de abogados locales AVISO Par /ey, la code tiene derecho a reclamar las cuotas y los costos exentos par imponer un gravamen sabre
 cualqurer recuperacrOn de $10,000 6 mas de valor recrbida mediante un acuerdo o una concesion de arbitraie en un caso de derecho civil Tien° que
 pager el gravamen de la carte antes de que la carte pueda desechar el caso.

 The name and address of the court is:                                                                    CASE NUMBER
(El nombre y threcciOn de la carte es)
 Superior Court of the State of California for the County of Los Angeles
                                                                                                         (NwnagaST CV27417
 Stanley Mosk Courthouse, 1 1 l N. Hill Street, Los Angeles, CA 90012
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre la direcciOn ye!nOmero de telefono del abogado del demandan(e, o del demandante que no tiene abogado, es):
  Edwin Aiwazian; 410 West Arden Avenue, Suite 203, Glendale, California 91203;(818)265-1020

                  JUL 2 7 yob
 DATE'                                     Sherri R. Carter, Clerk            Clerk, by                                                              , Deputy
(Fecha)         "                                                             (Secretario)            STEVEN OM                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  S.At;
                                  1.      as an individual defendant.
                                  2. -
                                     I  1 as the person sued under the fictitious name of (specify):

                                                                              TIFFANY AND COMPANY, A NEW YORK CORPORATION
                                      3. =1 on behalf of (specify)

                                          under           CCP 416.10 (corporation)                        I—I      CCP 416.60 (minor)
                                                  -
                                                  1 1     CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                  1 1     CCP 416.40 (association or partnership)         I—I      CCP 416.90 (authorized person)

                                                          other (specify):
                                                  by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
  orrri Adopted for Mandatory Use
   Judicial Council of California
                                                                       SUMMONS                                                 Code of Civil Procedure §§ 412 20, 485
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                                        Superior Court of California, County of Los Angeles


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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (00R). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
     ; Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
     • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
      •         Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
      •         Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
      •         No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
       1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
          settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

       2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the .
          strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
          acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                                   Mediation may be appropriate when the parties
                                     • want to work out a solution but need help from a neutral person.
                                     • have communication problems or strong emotions that interfere with resolution.
                                   Mediation may not be appropriate when the parties
                                     • want a public trial and want a judge or jury to decide the outcome.
                                     • lack equal bargaining power or have a history of physical/emotional abuse.



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        For Mandatory Use                                                                                                                                                                                   Page 1 of 2




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                                 How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                  • ADR Services,Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                    (949)863-9800
                  • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310)309-6209
                  • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                    (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute Resolution Programs
             https://hrc.lacounW.gov/wp-content/uploads/2020/05/ORP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

              Day of trial mediation programs have been paused until further notice.

              Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
              should carefully review the Notice and other information they may receive about(ODR)
              requirements for their case.

          c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory.Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.orgidivision/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR,visit http://www.courts.ca.gov/programs-adr.htm


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                                                                                          CO
   1 Edwin A iwazian (SBN 232943)
     LAWYERS for JUSTICE, PC
   2 410 West Arden Avenue, Suite 203                                CONFORMED COPY
     Glendale, California 91203                                         ORIGINAL FILED
     Tel: (818)265-1020 / Fax:(818) 265-1021                         Superior Court of California
   3                                                                     County of Los Angeles

   4 A ttorneysfor Plaintiff                                               JUL 27 2021
   5
                                                               Sham R Cilter,Executive Officer/Clerk ci Court
   6

   7

   8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                             FOR THE COUNTY OF LOS ANGELES

  10 TIM BERMEJO, individually, and on behalf
     of other members of the general public            caseN°  21ST CV27417
     similarly situated;                               CLASS ACTION COMPLAINT FOR
                                                       DAMAGES
                    Plaintiff,
                                                      (1) Violation of California Labor Code
             VS.                                           §§ 510 and 1198 (Unpaid
                                                           Overtime);
       TIFFANY AND COMPANY, a New York                (2) Violation of California Labor Code
       corporation; and DOES I through 100,               §§ 226.7 and 512(a)(Unpaid Meal
       inclusive,                                          Period Premiums);
                                                      (3) Violation of California Labor Code
                    Defendants.                           § 226.7(Unpaid Rest Period
                                                           Premiums);
                                                      (4) Violation of California Labor Code
                                                          §§ 1 194, 1 197, and 1 197.1 (Unpaid
                                                           Minimum Wages);
                                                      (5) Violation of California Labor Code
                                                          §§ 201 and 202(Final Wages Not
                                                          Timely Paid);
  20                                                  (6) Violation of California Labor Code
                                                          § 204(Wages Not Timely Paid
  21                                                       During Employment);
                                                      (7) Violation of California Labor Code
  22                                                      § 226(a)(Non-Compliant Wage
                                                          Statements);
  23                                                  (8) Violation of California Labor Code
                                                          § 1 174(d)(Failure To Keep
  24                                                       Requisite Payroll Records);
                                                      (9) Violation of California Labor Code
  25                                                      §§ 2800 and 2802(Unreimbursed
                                                           Business Expenses);
  26                                                  (10) Violation of California Business &
                                                          Professions Code §§ 17200, et seq.
  27
                                                       DEMAND FOR JURY TRIAL
  28



                               CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

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       1          COMES NOW,Plaintiff TIM BERMEJO ("Plaintiff"), individually, and on behalf of

       2 other members ofthe general public similarly situated, and alleges as follows:

       3                                   JURISDICTION AND VENUE

      4           1.      This class action is brought pursuant to the California Code of Civil Procedure

       5 section 382. The monetary damages and restitution sought by Plaintiff exceeds the minimal

      6 jurisdiction limits of the Superior Court and will be established according to proof at trial. The

       7 "amount in controversy" for the named Plaintiff, including but not limited to claims for

       8 compensatory damages, restitution, penalties, wages, premium pay, and pro rata share of

      9 attorneys' fees, is less than seventy-five thousand dollars ($75,000).

      10          2.      This Court has jurisdiction over this action pursuant to the California

      11   Constitution, Article VI, Section 10, which grants the superior court "original jurisdiction in all

      12 other causes" except those given by statute to other courts. The statutes under which this

      13 action is brought do not specify any other basis for jurisdiction.

      14          3.      This Court has jurisdiction over Defendant because, upon information and

      15   belief, Defendant is a citizen of California, has sufficient minimum contacts in California, or

      16 otherwise intentionally avails itself ofthe California market so as to render the exercise of

      17 jurisdiction over it by California courts consistent with traditional notions of fair play and

      18 substantial justice.

      19          4.      Venue is proper in this Court because, upon information and belief, Defendant

     20 maintains offices, has agents, employs individuals, and/or transacts business in the State of

     21    California, County of Los Angeles. The majority of acts and omissions alleged herein relating to

     22 Plaintiff and the other class members took place in the State of California, including the County

     23 of Los Angeles.

     24                                               PARTIES

     25           5.      Plaintiff TIM BERMEJO is an individual residing in the State of California,

     26 County of Los Angeles.

     27 ///

     28


                                                           2
                            CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                         EXHIBIT A - Page 6
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  1          6.      Defendant TIFFANY AND COMPANY,at all times herein mentioned, was and

  2 is, upon information and belief, an employer whose employees are engaged throughout the

  3 State of California, including the County of Los Angeles.

 4           7.      At all relevant times, Defendant TIFFANY AND COMPANY was the

  5 "employer" of Plaintiff within the meaning of all applicable California laws and statutes.

 6           8.      At all times herein relevant, Defendants TIFFANY AND COMPANY,and

 7 DOES 1 through 100, and each of them, were the agents, partners,joint venturers,joint

  8 employers, representatives, servants, employees, successors-in-interest, co-conspirators and/or

 9 assigns, each of the other, and at all times relevant hereto were acting within the course and

 10 scope of their authority as such agents, partners,joint venturers,joint employers,

 11   representatives, servants, employees, successors, co-conspirators and/or assigns, and all acts or

 12 omissions alleged herein were duly committed with the ratification, knowledge, permission,

 13 encouragement, authorization and/or consent of each defendant designated as a DOE herein.

 14          9.     The true names and capacities, whether corporate, associate, individual or

 15 otherwise, of defendants DOES 1 through 100, inclusive, are unknown to Plaintiff who sue

 16 said defendants by such fictitious names. Plaintiff is informed and believes, and based on that

 17 information and belief alleges, that each ofthe defendants designated as a DOE is legally

 18 responsible for the events and happenings referred to in this Complaint, and unlawfully caused

 19 the injuries and damages to Plaintiff and the other class members as alleged in this Complaint.

20 Plaintiff will seek leave of court to amend this Complaint to show the true names and

21    capacities when the same have been ascertained.

22           10.    Defendant TIFFANY AND COMPANY and DOES 1 through 100 will

23 hereinafter collectively be referred to as "Defendants."

24           1 1.   Plaintiff further alleges that Defendants directly or indirectly controlled or

25 affected the working conditions, wages, working hours, and conditions of employment of

26 Plaintiff and the other class members so as to make each of said Defendants employers liable

27 under the statutory provisions set forth herein.

28 /II


                                                     3
                       CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                   EXHIBIT A - Page 7
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  1                                    CLASS ACTION ALLEGATIONS

  2          12.      Plaintiff bring this action on his own behalf and on behalf of all other members

  3 of the general public similarly situated, and, thus, seeks class certification under California

 4 Code of Civil Procedure section 382.

 5           13.      The proposed class is defined as follows:

 6                    All current and former hourly-paid or non-exempt employees who worked for

 7                    any of the Defendants within the State of California at any time during the

 8                    period from four years preceding the filing of this Complaint to final judgment

 9                    and who reside in California.

 10                  (Subclass A.) All class members who received overtime compensation at a rate

 11                   lower than their respective regular rate of pay because Defendants failed to

12                    include all non-discretionary bonuses or other incentive-based compensation in

13                   the calculation of the regular rate of pay for overtime pay purposes.

 14          14.      Plaintiff reserves the right to establish additional subclasses as appropriate.

15           15.     The class is ascertainable and there is a well-defined community of interest in

16 the litigation:

17                    a.        Numerosity: The class members are so numerous that joinder of all class
18                              members is impracticable. The membership ofthe entire class is

19                              unknown to Plaintiff at this time; however, the class is estimated to be

20                              greater than fifty(50) individuals and the identity of such membership is

21                              readily ascertainable by inspection of Defendants' employment records.

22                   b.         Typicality: Plaintiff's claims are typical of all other class members' as

23                              demonstrated herein. Plaintiff will fairly and adequately protect the

24                              interests of the other class members with whom he has a well-defined

25                              community of interest.

26                   c.         Adequacy: Plaintiff will fairly and adequately protect the interests of

27                             each class member, with whom he has a well-defined community of

28                              interest and typicality of claims, as demonstrated herein. Plaintiff has no


                                                         4
                           CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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  1                          interest that is antagonistic to the other class members. Plaintiff's

 2                           attorneys, the proposed class counsel, are versed in the rules governing

 3                           class action discovery, certification, and settlement. Plaintiff has

 4                           incurred, and during the pendency of this action will continue to incur,

 5                           costs and attorneys' fees, that have been, are, and will be necessarily

 6                           expended for the prosecution of this action for the substantial benefit of

 7                           each class member.

 8                 d.        Superiority: A class action is superior to other available methods for the

 9                           fair and efficient adjudication of this litigation because individual joinder

 10                          of all class members is impractical.

 11                e.        Public Policy Considerations: Certification of this lawsuit as a class

 12                          action will advance public policy objectives. Employers of this great

 13                          state violate employment and labor laws every day. Current employees

 14                          are often afraid to assert their rights out of fear of direct or indirect

 15                          retaliation. However, class actions provide the class members who are

 16                          not named in the complaint anonymity that allows for the vindication of

 17                          their rights.

 18         16.    There are common questions of law and fact as to the class members that

19 predominate over questions affecting only individual members. The following common

20 questions of law or fact, among others, exist as to the members of the class:

21                 a.        Whether Defendants' failure to pay wages, without abatement or

22                           reduction, in accordance with the California Labor Code, was willful;

23                 b.        Whether Defendants' had a corporate policy and practice of failing to

24                           pay their hourly-paid or non-exempt employees within the State of

25                          California for all hours worked and missed (short, late, interrupted,

26                          and/or missed altogether) meal periods and rest breaks in violation of

27                          California law;

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                                                        5
                        CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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                c.        Whether Defendants required Plaintiff and the other class members to

                          work over eight(8) hours per day and/or over forty(40) hours per week

                          and failed to pay the legally required overtime compensation to Plaintiff

                          and the other class members;

                d.        Whether Defendants deprived Plaintiff and the other class members of

                          meal and/or rest periods or required Plaintiff and the other class

                          members to work during meal and/or rest periods without compensation;

                e.        Whether Defendants failed to pay minimum wages to Plaintiff and the

                          other class members for all hours worked;

                f.        Whether Defendants failed to pay all wages due to Plaintiff and the other

                          class members within the required time upon their discharge or

                          resignation;

                8-        Whether Defendants failed to timely pay all wages due to Plaintiff and

                          the other class members during their employment;

                h.        Whether Defendants complied with wage reporting as required by the

                          California Labor Code; including, inter alia, section 226;

                i.        Whether Defendants kept complete and accurate payroll records as

                          required by the California Labor Code, including, inter alia, section

                          1 174(d);

                j.        Whether Defendants failed to reimburse Plaintiff and the other class

                          members for necessary business-related expenses and costs;

                k.        Whether Defendants' conduct was willful or reckless;

                I.        Whether Defendants engaged in unfair business practices in violation of

                         California Business & Professions Code section 17200, et seq.;

                m.       The appropriate amount of damages, restitution, and/or monetary

                          penalties resulting from Defendants' violation of California law; and

                n.        Whether Plaintiff and the other class members are entitled to

                         compensatory damages pursuant to the California Labor Code.


                                                   6
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                   1                                   GENERAL ALLEGATIONS

                   2          17.     At all relevant times set forth herein, Defendants employed Plaintiff and other

                   3 persons as hourly-paid or non-exempt employees within the State of California, including the

                   4 County of Los Angeles.

                   5          18.    Defendants,jointly and severally, employed Plaintiff as an hourly-paid, non-

                   6 exempt employee, from approximately April 2019 to approximately February 2021, in the

                   7 State of California, County of Los Angeles.

                   8          19.    Defendants hired Plaintiff and the other class members, classified them as

                   9 hourly-paid or non-exempt employees, and failed to compensate them for all hours worked and

                  10 missed meal periods and/or rest breaks.

                  11          20.    Defendants had the authority to hire and terminate Plaintiff and the other class
 0.2
  u               12 members, to set work rules and conditions governing Plaintiff's and the other class members'

(,)               13 employment, and to supervise their daily employment activities.
      >5
            =     14          21.    Defendants exercised sufficient authority over the terms and conditions of
 c/) •E
 g          To    15 Plaintiff's and the other class members' employment for them to be joint employers of Plaintiff
      17,

            °
                  16 and the other class members.
'Lt
                  17          22.    Defendants directly hired and paid wages and benefits to Plaintiff and the other

                  18 class members.

                  19          23.    Defendants continue to employ hourly-paid or non-exempt employees within the

                  20 State of California.

                  21          24.    Plaintiff and the other class members worked over eight(8) hours in a day,

                  22 and/or forty (40) hours in a week during their employment with Defendants.

                  23          25.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

                  24 engaged in a pattern and practice of wage abuse against their hourly-paid or non-exempt

                  25 employees within the State of California. This pattern and practice involved, inter alia, failing

                  26 to pay them for all regular and/or overtime wages earned and for missed meal periods and rest

                  27 breaks in violation of California law.

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  1          26.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

  2 knew or should have known that Plaintiff and the other class members were entitled to receive

  3 certain wages for overtime compensation and that they were not receiving accurate overtime

  4 compensation for all overtime hours worked.

  5          27.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

  6 failed to provide Plaintiff and the other class members all required rest and meal periods during

  7 the relevant time period as required under the Industrial Welfare Commission Wage Orders

  8 and thus they are entitled to any and all applicable penalties.

  9          28.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

 10 knew or should have known that Plaintiff and the other class members were entitled to receive

 11   all meal periods or payment of one additional hour of pay at Plaintiff's and the other class

 12 member's regular rate of pay when a meal period was missed, and they did not receive all meal

 1 3 periods or payment of one additional hour of pay at Plaintiff's and the other class member's

 14 regular rate of pay when a meal period was missed.

 15          29.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

 16 knew or should have known that Plaintiff and the other class members were entitled to receive

 17 all rest periods or payment of one additional hour of pay at Plaintiff's and the other class

 18 member's regular rate of pay when a rest period was missed, and they did not receive all rest

 19 periods or payment of one additional hour of pay at Plaintiff's and the other class members'

 20 regular rate of pay when a rest period was missed.

 21          30.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

 22 knew or should have known that Plaintiff and the other class members were entitled to receive

 23 at least minimum wages for compensation and that they were not receiving at least minimum

 24 wages for all hours worked.

 25          31.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

 26 knew or should have known that Plaintiff and the other class members were entitled to receive

 27 all wages owed to them upon discharge or resignation, including overtime and minimum wages

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  1   and meal and rest period premiums, and they did not, in fact, receive all such wages owed to

      them at the time of their discharge or resignation.

  3          32.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

  4 knew or should have known that Plaintiff and the other class members were entitled to receive

  5 all wages owed to them during their employment. Plaintiff and the other class members did

  6 not receive payment of all wages, including overtime and minimum wages and meal and rest

  7 period premiums, within any time permissible under California Labor Code section 204.

  8          33.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

  9 knew or should have known that Plaintiff and the other class members were entitled to receive

 10 complete and accurate wage statements in accordance with California law, but, in fact, they did

 11   not receive complete and accurate wage statements from Defendants. The deficiencies

 12 included, inter alia, the failure to include the total number of hours worked by Plaintiff and the

 13 other class members.

 14          34.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

 15 knew or should have known that Defendants had to keep complete and accurate payroll records

 16 for Plaintiff and the other class members in accordance with California law, but, in fact, did

 17 not keep complete and accurate payroll records.

 18          35.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

 19 knew or should have known that Plaintiff and the other class members were entitled to

 20 reimbursement for necessary business-related expenses.

 21          36.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

 22 knew or should have known that they had a duty to compensate Plaintiff and the other class

 23   members pursuant to California law, and that Defendants had the financial ability to pay such

 24 compensation, but willfully, knowingly, and intentionally failed to do so, and falsely

 25 represented to Plaintiff and the other class members that they were properly denied wages, all

 26 in order to increase Defendants' profits.

 27          37.    During the relevant time period, Defendants failed to pay overtime wages to

 28 Plaintiff and the other class members for all overtime hours worked. Plaintiff and the other


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  1   class members were required to work more than eight(8) hours per day and/or forty (40) hours

      per week without ovcrtimc compensation for all Overtime hours worked.

  3          38.    During the relevant time period, Defendants failed to provide all requisite

  4 uninterrupted meal and rest periods to Plaintiff and the other class members.

  5          39.    During the relevant time period, Defendants failed to pay Plaintiff and the other

  6 class members at least minimum wages for all hours worked.

  7          40.    During the relevant time period, Defendants failed to pay Plaintiff and the other

  8 class members all wages owed to them upon discharge or resignation.

  9          41.    During the relevant time period, Defendants failed to pay Plaintiff and the other

 10 class members all wages within any time permissible under California law, including, inter

 11   alia, California Labor Code section 204.

 12          42.    During the relevant time period, Defendants failed to provide complete or

 13 accurate wage statements to Plaintiff and the other class members.

 14          43.    During the relevant time period, Defendants failed to keep complete or accurate

 15   payroll records for Plaintiff and the other class members.

 16          44.    During the relevant time period, Defendants failed to reimburse Plaintiff and the

 17 other class members for all necessary business-related expenses and costs.

 18          45.    During the relevant time period, Defendants failed to properly compensate

 19 Plaintiff and the other class members pursuant to California law in order to increase

 20 Defendants' profits.

 21          46.    California Labor Code section 218 states that nothing in Article 1 of the Labor

 22 Code shall limit the right of any wage claimant to "sue directly.
                                                                    ... for any wages or penalty

 23 due to him [or her] under this article."

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                     1                                    FIRST CAUSE OF ACTION

                     2                      (Violation of California Labor Code §§ 510 and 1198)

                     3                  (Against TIFFANY AND COMPANY and DOES 1 through 100)

                     4            47.    Plaintiff incorporates by reference the allegations contained in Paragraphs 1

                     5 through 46, and each and every part thereof with the same force and effect as though fully set

                     6 forth herein.

                     7            48.    California Labor Code section 1198 and the applicable Industrial Welfare

                     8 Commission("IWC") Wage Order provide that it is unlawful to employ persons without

                     9 compensating them at a rate of pay either time-and-one-half or two-times that person's regular

                    10 rate of pay, depending on the number of hours worked by the person on a daily or weekly

                    11   basis.

 w           cn     12            49.    Specifically, the applicable IWC Wage Order provides that Defendants are and
(1di         (.1
 E           3      13 were required to pay Plaintiff and the other class members employed by Defendants, and
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  o 5 u
                    14 working more than eight(8) hours in a day or more than forty (40) hours in a workweek, at the
 CJ)    0;
     <              15 rate of time-and-one-half for all hours worked in excess of eight(8) hours in a day or more
 iT4

             °
                    16 than forty (40) hours in a workweek.
       71:
                    17            50.    The applicable IWC Wage Order further provides that Defendants are and were

                    18 required to pay Plaintiff and the other class members overtime compensation at a rate of two

                    19 times their regular rate of pay for all hours worked in excess of twelve(12) hours in a day.

                    20            51.    California Labor Code section 510 codifies the right to overtime compensation

                    21   at one-and-one-half times the regular hourly rate for hours worked in excess of eight(8) hours

                    22 in a day or forty (40) hours in a week or for the first eight(8) hours worked on the seventh day

                    23 of work, and to overtime compensation at twice the regular hourly rate for hours worked in

                    24 excess of twelve(12) hours in a day or in excess of eight(8) hours in a day on the seventh day

                    25 of work.

                    26            52.    During the relevant time period, Plaintiff and the other class members worked in

                    27 excess of eight(8) hours in a day, and/or in excess of forty (40) hours in a week.

                    28 II/


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  1          53.     During the relevant time period, Defendants intentionally and willfully failed to

  2 pay overtime wages owed to Plaintiff and the other class members.

  3          54.     Defendants' failure to pay Plaintiff and the other class members the unpaid

  4 balance of overtime compensation, as required by California laws, violates the provisions of

  5 California Labor Code sections 510 and 1198, and is therefore unlawful.

  6          55.     Pursuant to California Labor Code section 1194, Plaintiff and the other class

  7 members are entitled to recover unpaid overtime compensation, as well as interest, costs, and

  8 attorneys' fees.

  9                                  SECOND CAUSE OF ACTION

 10                    (Violation of California Labor Code §§ 226.7 and 512(a))

 11                (Against TIFFANY AND COMPANY and DOES 1 through 100)

 12          56.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

 13 through 55, and each and every part thereof with the same force and effect as though fully set

 14 forth herein.

 15          57.     At all relevant times, the IWC Order and California Labor Code sections 226.7

 16 and 512(a) were applicable to Plaintiff's and the other class members' employment by

 17 Defendants.

 18          58.     At all relevant times, California Labor Code section 226.7 provides that no

 19 employer shall require an employee to work during any meal or rest period mandated by an

 20 applicable order of the California IWC.

 21          59.     At all relevant times, the applicable IWC Wage Order and California Labor

 22 Code section 512(a) provide that an employer may not require, cause or permit an employee to

 23 work for a work period of more than five(5) hours per day without providing the employee

 24 with a meal period of not less than thirty (30) minutes, except that if the total work period per

 25 day of the employee is no more than six (6) hours, the meal period may be waived by mutual

 26 consent of both the employer and employee.

 27          60.     At all relevant times, the applicable IWC Wage Order and California Labor

 28 Code section 512(a) further provide that an employer may not require, cause or permit an


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  1   employee to work for a work period of more than ten (10) hours per day without providing the

  2 employee with a second uninterrupted meal period of not less than thirty (30) minutes, except

  3 that if the total hours worked is no more than twelve(12) hours, the second meal period may

  4 be waived by mutual consent of the employer and the employee only if the first meal period

  5   was not waived.

  6            61.   During the relevant time period, Plaintiff and the other class members who were

  7 scheduled to work for a period of time no longer than six (6) hours, and who did not waive

  8 their legally-mandated meal periods by mutual consent, were required to work for periods

  9 longer than five(5) hours without an uninterrupted meal period of not less than thirty (30)

 10 minutes and/or rest period.

 11            62.   During the relevant time period, Plaintiff and the other class members who were

 12 scheduled to work for a period of time in excess of six (6) hours were required to work for

 13 periods longer than five (5) hours without an uninterrupted meal period of not less than thirty

 14 (30) minutes and/or rest period.

 15            63.   During the relevant time period, Defendants intentionally and willfully required

 16 Plaintiff and the other class members to work during meal periods and failed to compensate

 17 Plaintiff and the other class members the full meal period premium for work performed during

 18 meal periods.

 19            64.   During the relevant time period, Defendants failed to pay Plaintiff and the other

 20 class members the full meal period premium due pursuant to California Labor Code section

 21   226.7.

 22            65.   Defendants' conduct violates applicable IWC Wage Order and California Labor

 23 Code sections 226.7 and 512(a).

 24            66.   Pursuant to applicable IWC Wage Order and California Labor Code section

 25 226.7(b), Plaintiff and the other class members are entitled to recover from Defendants one

 26 additional hour of pay at the employee's regular rate of compensation for each work day that

 27 the meal or rest period is not provided.

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                  1                                   THIRD CAUSE OF ACTION

                  2                          (Violation of California Labor Code § 226.7)

                  3                (Against TIFFANY AND COMPANY and DOES 1 through 100)

                  4          67.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

                  5 through 66, and each and every part thereof with the same force and effect as though fully set

                  6 forth herein.

                  7          68.     At all times herein set forth, the applicable IWC Wage Order and California

                  8 Labor Code section 226.7 were applicable to Plaintiff's and the other class members'

                  9 employment by Defendants.

                 10          69.     At all relevant times, California Labor Code section 226.7 provides that no

                 11   employer shall require an employee to work during any rest period mandated by an applicable

      .tg        12 order of the California IWC.

(/)              13          70.    At all relevant times, the applicable IWC Wage Order provides that "[e]very
            g
                 14 employer shall authorize and permit all employees to take rest periods, which insofar as
CI) 7.
    < 74.        15   practicable shall be in the middle of each work period" and that the "rest period time shall be
14 V, av "
                 16 based on the total hours worked daily at-the rate of ten (10) minutes net rest time per four(4)

                 17 hours or major fraction thereof" unless the total daily work time is less than three and one-half

                 18 (3 /
                       1
                       2)hours.

                 19          71.    During the relevant time period, Defendants required Plaintiff and other class

                 20 members to work four(4) or more hours without authorizing or permitting a ten (10) minute

                 21   rest period per each four(4) hour period worked.

                 22          72.    During the relevant time period, Defendants willfully required Plaintiff and the

                 23 other class members to work during rest periods and failed to pay Plaintiff and the other class

                 24 members the full rest period premium for work performed during rest periods.

                 25          73.    During the relevant time period, Defendants failed to pay Plaintiff and the other

                 26 class members the full rest period premium due pursuant to California Labor Code section

                 27 226.7.

                 28 ///


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  1          74.     Defendants' conduct violates applicable IWC Wage Orders and California

  2 Labor Code section 226.7.

  3          75.     Pursuant to the applicable IWC Wage Orders and California Labor Code section

  4 226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one

  5 additional hour of pay at the employees' regular hourly rate of compensation for each work

  6 day that the rest period was not provided.

  7                                  FOURTH CAUSE OF ACTION

  8                 (Violation of California Labor Code §§ 1194, 1197, and 1197.1)

  9                (Against TIFFANY AND COMPANY and DOES 1 through 100)

 10          76.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

 11   through 75, and each and every part thereof with the same force and effect as though fully set

 12 forth herein.

 13          77.     At all relevant times, California Labor Code sections 1194, 1197, and 1197.1

 14 provide that the minimum wage to be paid to employees, and the payment of a lesser wage

 15 than the minimum so fixed is unlawful.

 16          78.     During the relevant time period, Defendants failed to pay minimum wage to

 17 Plaintiff and the other class members as required, pursuant to California Labor Code sections

 18   1 194, 1197, and 1197.1.

 19          79.     Defendants' failure to pay Plaintiff and the other class members the minimum

 20 wage as required violates California Labor Code sections 1194, 1197, and 1197.1. Pursuant to

 21   those sections Plaintiff and the other class members are entitled to recover the unpaid balance

 22 of their minimum wage compensation as well as interest, costs, and attorney's fees, and

 23 liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.

 24          80.     Pursuant to California Labor Code section 1197.1, Plaintiff and the other class

25 members are entitled to recover a penalty of $100.00 for the initial failure to timely pay each

26 employee minimum wages, and $250.00 for each subsequent failure to pay each employee

27 minimum wages.

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  1          81.     Pursuant to California Labor Code section 1194.2, Plaintiff and the other class

  2 members are entitled to recover liquidated damages in an amount equal to the wages

  3 unlawfully unpaid and interest thereon.

  4                                    FIFTH CAUSE OF ACTION

  5                      (Violation of California Labor Code §§ 201 and 202) •

  6                (Against TIFFANY AND COMPANY and DOES 1 through 100)

  7          82.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

  8 through 81, and each and every part thereof with the same force and effect as though fully set

  9 forth herein.

 10          83.     At all relevant times herein set forth, California Labor Code sections 201 and

 11   202 provide that if an employer discharges an employee, the wages earned and unpaid at the

 12 time of discharge are due and payable immediately, and if an employee quits his or her

 13 employment, his or her wages shall become due and payable not later than seventy-two (72)

 14 hours thereafter, unless the employee has given seventy-two (72) hours' notice of his or her

 15   intention to quit, in which case the employee is entitled to his or her wages at the time of

 16 quitting.

 17          84.     During the relevant time period, Defendants intentionally and willfully failed to

 18 pay Plaintiff and the other class members who are no longer employed by Defendants their

 19 wages, earned and unpaid, within seventy-two (72) hours of their leaving Defendants' employ.

 20          85.     Defendants' failure to pay Plaintiff and the other class members who are no

 21   longer employed by Defendants' their wages, earned and unpaid, within seventy-two (72)

 22 hours of their leaving Defendants' employ, is in violation of California Labor Code sections

 23 201 and 202.

 24          86.     California Labor Code section 203 provides that if an employer willfully fails to

 25   pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

 26 shall continue as a penalty from the due date thereof at the same rate until paid or until an

 27 action is commenced; but the wages shall not continue for more than thirty (30) days.

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  1          87.    Plaintiff and the other class members are entitled to recover from Defendants the

  2 statutory penalty wages for each day they were not paid, up to a thirty (30) day maximum

  3 pursuant to California Labor Code section 203.

  4                                   SIXTH CAUSE OF ACTION

  5                           (Violation of California Labor Code § 204)

  6                (Against TIFFANY AND COMPANY and DOES 1 through 100)

  7          88.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

  8 through 87, and each and every part thereof with the same force and effect as though fully set

  9 forth herein.

 10          89.    At all times herein set forth, California Labor Code section 204 provides that all

 11   wages earned by any person in any employment between the 1st and 15th days, inclusive, of

 12 any calendar month, other than those wages due upon termination of an employee, are due and

 13 payable between the 16th and the 26th day of the month during which the labor was

 14 performed.

 15          90.    At all times herein set forth, California Labor Code section 204 provides that all

 16 wages earned by any person in any employment between the 16th and the last day, inclusive,

 17 of any calendar month, other than those wages due upon termination of an employee, are due

 18 and payable between the 1st and the 10th day of the following month.

 19          91.    At all times herein set forth, California Labor Code section 204 provides that all

 20 wages earned for labor in excess of the normal work period shall be paid no later than the

 21   payday for the next regular payroll period.

 22          92.    During the relevant time period, Defendants intentionally and willfully failed to

 23 pay Plaintiff and the other class members all wages due to them, within any time period

 24 permissible under California Labor Code section 204.

 25          93.    Plaintiff and the other class members are entitled to recover all remedies

 26 available for violations of California Labor Code section 204.

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  1                                 SEVENTH CAUSE OF ACTION

  2                          (Violation of California Labor Code § 226(a))

  3                (Against TIFFANY AND COMPANY and DOES 1 through 100)

  4          94.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

  5 through 93, and each and every part thereof with the same force and effect as though fully set

  6 forth herein.

  7          95.    At all material times set forth herein, California Labor Code section 226(a)

  8 provides that every employer shall furnish each of his or her employees an accurate itemized

  9 statement in writing showing (1) gross wages earned,(2)total hours worked by the employee,

 10 (3) the number of piece-rate units earned and any applicable piece rate if the employee is paid

 11   on a piece-rate basis,(4) all deductions, provided that all deductions made on written orders of

 12 the employee may be aggregated and shown as one item,(5) net wages earned,(6)the

 13 inclusive dates of the period for which the employee is paid,(7)the name of the employee and

 14 his or her social security number,(8)the name and address of the legal entity that is the

 15 employer, and (9) all applicable hourly rates in effect during the pay period and the

 16 corresponding number of hours worked at each hourly rate by the employee. The deductions

 17 made from payments of wages shall be recorded in ink or other indelible form, properly dated,

 18 showing the month, day, and year, and a copy of the statement or a record of the deductions

 19 shall be kept on file by the employer for at least three years at the place of employment or at a

 20 central location within the State of California.

 21          96.    Defendants have intentionally and willfully failed to provide Plaintiff and the

 22 other class members with complete and accurate wage statements. The deficiencies include,

 23 but are not limited to: the failure to include the total number of hours worked by Plaintiff and

 24 the other class members.

 25          97.    As a result of Defendants' violation of California Labor Code section 226(a),

 26 Plaintiff and the other class members have suffered injury and damage to their statutorily-

 27 protected rights.

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  1          98.     More specifically, Plaintiff and the other class members have been injured by

  2 Defendants' intentional and willful violation of California Labor Code section 226(a) because

  3 they were denied both their legal right to receive, and their protected interest in receiving,

  4 accurate and itemized wage statements pursuant to California Labor Code section 226(a).

  5          99.     Plaintiff and the other class members are entitled to recover from Defendants the

  6 greater of their actual damages caused by Defendants' failure to comply with California Labor

  7 Code section 226(a), or an aggregate penalty not exceeding four thousand dollars per

  8 employee.

  9          100.    Plaintiff and the other class members are also entitled to injunctive relief to

 10 ensure compliance with this section, pursuant to California Labor Code section 226(h).

 11                                  EIGHTH CAUSE OF ACTION

 12                         (Violation of California Labor Code § 1174(d))

 13                 (Against TIFFANY AND COMPANY and DOES 1 through 100)

 14          101.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

 15 through 100, and each and every part thereof with the same force and effect as though fully set

 16 forth herein.

 17          102.    Pursuant to California Labor Code section 1174(d), an employer shall keep, at a

 18 central location in the state or at the plants or establishments at which employees are

 19 employed, payroll records showing the hours worked daily by and the wages paid to, and the

 20 number of piece-rate units earned by and any applicable piece rate paid to, employees

 21   employed at the respective plants or establishments. These records shall be kept in accordance

 22 with rules established for this purpose by the commission, but in any case shall be kept on file

 23 for not less than two years.

 24          103.    Defendants have intentionally and willfully failed to keep accurate and complete

 25 payroll records showing the hours worked daily and the wages paid, to Plaintiff and the other

 26 class members.

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  1          104.     As a result of Defendants' violation of California Labor Code section 1174(d),

  2 Plaintiff and the other class members have suffered injury and damage to their statutorily-

  3 protected rights.

  4          105.     More specifically, Plaintiff and the other class members have been injured by

  5 Defendants' intentional and willful violation of California Labor Code section 1174(d) because

  6 they were denied both their legal right and protected interest, in having available, accurate and

  7 complete payroll records pursuant to California Labor Code section 1174(d).

  8                                    NINTH CAUSE OF ACTION

  9                     (Violation of California Labor Code §§ 2800 and 2802)

 10                  (Against TIFFANY AND COMPANY and DOES 1 through 100)

 11          106.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

 12 through 105, and each and every part thereof with the same force and effect as though fully set

 13 forth herein.

 14          107.     Pursuant to California Labor Code sections 2800 and 2802, an employer must

 15 reimburse its employee for all necessary expenditures incurred by the employee in direct

 16 consequence of the discharge of his or her job duties or in direct consequence of his or her

 17 obedience to the directions of the employer.

 18          108.     Plaintiff and the other class members incurred necessary business-related

 19 expenses and costs that were not fully reimbursed by Defendants.

 20          109.     Defendants have intentionally and willfully failed to reimburse Plaintiff and the

 21   other class members for all necessary business-related expenses and costs.

 22          1 10.    Plaintiff and the other class members are entitled to recover from Defendants

 23 their business-related expenses and costs incurred during the course and scope of their

 24 employment, plus interest accrued from the date on which the employee incurred the necessary

 25 expenditures at the same rate as judgments in civil actions in the State of California.

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                                                     20
                        CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                    EXHIBIT A - Page 24
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  1                                    TENTH CAUSE OF ACTION

  2            (Violation of California Business & Professions Code §§ 17200, et seq.)

  3                  (Against TIFFANY AND COMPANY and DOES 1 through 100)

  4          1 11.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

  5 through 110, and each and every part thereof with the same force and effect as though fully set

  6 forth herein.

  7          1 12.    Defendants' conduct, as alleged herein, has been, and continues to be, unfair,

  8 unlawful and harmful to Plaintiff, other class members, to the general public, and Defendants'

  9 competitors. Accordingly, Plaintiff seek to enforce important rights affecting the public

 10 interest within the meaning of Code of Civil Procedure section 1021.5.

 11          1 13.    Defendants' activities as alleged herein are violations of California law, and

 12 constitute unlawful business acts and practices in violation of California Business &

 13 Professions Code section 17200, et seq.

 14          1 14.    A violation of California Business & Professions Code section 17200, et seq.

 15   may be predicated on the violation of any state or federal law. In this instant case, Defendants'
 16 policies and practices of requiring employees, including Plaintiff and the other class members,

 17 to work overtime without paying them proper compensation violate California Labor Code

 18 sections 510 and 1198. Additionally, Defendants' policies and practices of requiring

 19 employees, including Plaintiff and the other class members, to work through their meal and

 20 rest periods without paying them proper compensation violate California Labor Code sections

 21   226.7 and 512(a). Defendants' policies and practices of failing to pay minimum wages violate

 22 California Labor Code sections 1194, 1197, and 1197.1. Moreover, Defendants' policies and

 23 practices of failing to timely pay wages to Plaintiff and the other class members violate

 24 California Labor Code sections 201, 202 and 204. Defendants also violated California Labor

 25 Code sections 226(a), 1174(d), 2800 and 2802.

 26          1 15.    As a result ofthe herein described violations of California law, Defendants

 27 unlawfully gained an unfair advantage over other businesses.

 28 ///


                                                      21
                        CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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  1           116.    Plaintiff and the other class members have been personally injured by

  2 Defendants' unlawful business acts and practices as alleged herein, including but not

  3 necessarily limited to the loss of money and/or property.

  4           1 17.   Pursuant to California Business & Professions Code sections 17200, et seq.,

  5 Plaintiff and the other class members are entitled to restitution of the wages withheld and

  6 retained by Defendants during a period that commences four years preceding the filing of this

  7 Complaint; an award of attorneys' fees pursuant to California Code of Civil procedure section

  8   1021.5 and other applicable laws; and an award of costs.

  9                                    DEMAND FOR JURY TRIAL

 10          Plaintiff, individually, and on behalf of other members of the general public similarly

 11   situated, requests a trial by jury.

 12                                         PRAYER FOR RELIEF

 13           WHEREFORE, Plaintiff, individually, and on behalf of other members of the general

 14 public similarly situated, prays for relief and judgment against Defendants,jointly and

 15 severally, as follows:

 16                                           Class Certification

 17           1.      That this action be certified as a class action;

 18          2.       That Plaintiff be appointed as the representative of the Class;

 19          3.       That counsel for Plaintiff be appointed as Class Counsel; and

 20          4.       That Defendants provide to Class Counsel immediately the names and most

 21   current/last known contact information (address, e-mail and telephone numbers)of all class

 22 members.

 23                                    As to the First Cause of Action

 24          5.       That the Court declare, adjudge and decree that Defendants violated California

 25 Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay

 26 all overtime wages due to Plaintiff and the other class members;

 27          6.       For general unpaid wages at overtime wage rates and such general and special

 28 damages as may be appropriate;


                                                     22
                        CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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  1          7.     For pre-judgment interest on any unpaid overtime compensation commencing

  2 from the date such amounts were due;

  3          8.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to

  4 California Labor Code section 1194; and

  5          9.     For such other and further relief as the Court may deem just and proper.

  6                                As to the Second Cause of Action

  7          10.    That the Court declare, adjudge and decree that Defendants violated California

  8 Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to

  9 provide all meal periods (including second meal periods) to Plaintiff and the other class

 10 members;

 11          1 1.   That the Court make an award to Plaintiff and the other class members of one
 12 (1) hour of pay at each employee's regular rate of compensation for each workday that a meal

 13 period was not provided;

 14          12.    For all actual, consequential, and incidental losses and damages, according to

 15 proof;

 16          13.    For premium wages pursuant to California Labor Code section 226.7(c);

 17          14.    For pre-judgment interest on any unpaid wages from the date such amounts

 18 were due;

 19          15.    For reasonable attorneys' fees and costs of suit incurred herein; and

 20          16.    For such other and further relief as the Court may deem just and proper.

 21                                 As to the Third Cause of Action

 22          17.    That the Court declare, adjudge and decree that Defendants violated California

 23 Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

 24 rest periods to Plaintiff and the other class members;

 25          18.    That the Court make an award to Plaintiff and the other class members of one

 26 (1) hour of pay at each employee's regular rate of compensation for each workday that a rest

 27 period was not provided;

 28 ///


                                                   23
                      CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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                    1           19.       For all actual, consequential, and incidental losses and damages, according to

                    2 proof;

                    3           20.       For premium wages pursuant to California Labor Code section 226.7(c);

                    4           21.       For pre-judgment interest on any unpaid wages from the date such amounts

                    5   were due; and

                    6           22.       For such other and further relief as the Court may deem just and proper.

                    7                                    As to the Fourth Cause of Action

                    8           23.       That the Court declare, adjudge and decree that Defendants violated California

                    9 Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay minimum wages to

                   10 Plaintiff and the other class members;

                   11           24.       For general unpaid wages and such general and special damages as may be
      ;
      <r
            rfl    12 appropriate;
            es]
ri)                13           25.       For statutory wage penalties pursuant to California Labor Code section 1197.1
    ';9       g
 o          =c-    14 for Plaintiff and the other class members in the amount as may be established according to
4-, 5
CID         J'
z
r           -c     15   proof at trial;
›•
      c)           16           26.       For pre-judgment interest on any unpaid compensation from the date such
      71-
1-4                17 amounts were due;

                   18           27.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to

                   19 California Labor Code section 1194(a);

                   20           28.       For liquidated damages pursuant to California Labor Code section 1194.2; and

                   21           29.       For such other and further relief as the Court may deem just and proper.

                   22                                     As to the Fifth Cause of Action

                   23           30.       That the Court declare, adjudge and decree that Defendants violated California

                   24 Labor Code sections 201, 202, and 203 by willfully failing to pay all compensation owed at the

                   25 time of termination of the employment of Plaintiff and the other class members no longer

                   26 employed by Defendants;

                   27           31.       For all actual, consequential, and incidental losses and damages, according to

                   28 proof;


                                                                          24
                                            CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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  1            32.   For statutory wage penalties pursuant to California Labor Code section 203 for

  2 Plaintiff and the other class members who have left Defendants' employ;

  3            33.   For pre-judgment interest on any unpaid compensation from the date such

  4 amounts were due; and

  5            34.   For such other and further relief as the Court may deem just and proper.

  6                                   As to the Sixth Cause of Action

  7            35.   That the Court declare, adjudge and decree that Defendants violated California

  8 Labor Code section 204 by willfully failing to pay all compensation owed at the time required

  9 by California Labor Code section 204 to Plaintiff and the other class members;

 10            36.   For all actual, consequential, and incidental losses and damages, according to

 11   proof;

 12            37.   For pre-judgment interest on any unpaid compensation from the date such

 13 amounts were due; and

 14            38.   For such other and further relief as the Court may deem just and proper.

 15                                 As to the Seventh Cause of Action

 16            39.   That the Court declare, adjudge and decree that Defendants violated the record

 17 keeping provisions of California Labor Code section 226(a) and applicable IWC Wage Orders

 18 as to Plaintiff and the other class members, and willfully failed to provide accurate itemized

 19 wage statements thereto;

 20            40.   For actual, consequential and incidental losses and damages, according to proof;

 21            41.   For statutory penalties pursuant to California Labor Code section 226(e);

 22            42.   For injunctive relief to ensure compliance with this section, pursuant to

 23 California Labor Code section 226(h); and

 24            43.   For such other and further relief as the Court may deem just and proper.

 25                                  As to the Eighth Cause of Action

 26            44.   That the Court declare, adjudge and decree that Defendants violated California

 27 Labor Code section 1174(d) by willfully failing to keep accurate and complete payroll records

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                                                    25
                       CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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                   1   for Plaintiff and the other class members as required by California Labor Code section

                   2 1 174(d);

                   3          45.        For actual, consequential and incidental losses and damages, according to proof;

                   4          46.        For statutory penalties pursuant to California Labor Code section 1174.5; and

                   5          47.        For such other and further relief as the Court may deem just and proper.

                   6                                      As to the Ninth Cause of Action

                   7          48.        That the Court declare, adjudge and decree that Defendants violated California

                   8 Labor Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and the other

                   9 class members for all necessary business-related expenses as required by California Labor

                  10 Code sections 2800 and 2802;

                  11          49.        For actual, consequential and incidental losses and damages, according to proof;
00 2,
FA        rn      12          50.        For the imposition of civil penalties and/or statutory penalties;
     .tg. CD
           r-4
     cf)
      ,           13          51.        For reasonable attorneys' fees and costs of suit incurred herein; and
cA          C_
      5
     <            14          52.        For such other and further relief as the Court may deem just and proper.
           u
r.,) 12 G.)"
     <            15                                      As to the Tenth Cause of Action
          "5c1
                  16          53.        That the Court decree, adjudge and decree that Defendants violated California

                  17 Business and Professions Code sections 17200, et seq. by failing to provide Plaintiff and the

                  18 other class members all overtime compensation due to them, failing to provide all meal and

                  19 rest periods to Plaintiff and the other class members, failing to pay at least minimum wages to

                  20 Plaintiff and the other class members, failing to pay Plaintiff's and the other class members'

                  21   wages timely as required by California Labor Code section 201, 202 and 204 and by violating

                  22 California Labor Code sections 226(a), 1174(d), 2800 and 2802.

                  23          54.    For restitution of unpaid wages to Plaintiff and all the other class members and

                  24 all pre-judgment interest from the day such amounts were due and payable;

                  25          55.    For the appointment of a receiver to receive, manage and distribute any and all

                  26 funds disgorged from Defendants and determined to have been wrongfully acquired by

                  27 Defendants as a result of violation of California Business and Professions Code sections

                  28   17200, et seq.;


                                                                        26
                                           CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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   1         56.    For reasonable attorneys' fees and costs of suit incurred herein pursuant to

   2 California Code of Civil Procedure section 1021.5;

   3         57.    For injunctive relief to ensure compliance with this section, pursuant to

   4 California Business and Professions Code sections 17200, et seq.; and

   5         58.    For such other and further relief as the Court may deem just and proper.

   6 Dated: July 26, 2021                                  LAWYERSfor JUSTICE,PC
   7

   8                                                 By:
   9                                                       Edwin Aiwazian
                                                           Attorneysfor Plaintiff
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                       CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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 SHORT TITLE:   Bermejo vs. Tiffany and Company                                                       CASE NUMBER




                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
             chosen.
                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.      7. Location where petitioner resides.
2. Permissive filing in central district.                                             8. Location wherein defendant/respondentfunctions wholly.
3. Location where cause of action arose.                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                               10. Location of Labor Commissioner Office.
                                                                                    11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                    non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                         B                                                         C
                     Civil Case Cover Sheet                             .           Type of Action                                       Applicable Reasons -
                           Category No.                                            (Check only one)                                       See Step 3 Above

                             Auto (22)             0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1, 4, 11
   0
       0
   <                 Uninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist           1, 4, 11


                                                   0 A6070 Asbestos Property Damage                                                      1, 11
                          Asbestos(04)
                                                   0 A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11

                      Product Liability(24)        0 A7260 Product Liability (not asbestos or toxic/environmental)                       1, 4, 11

                                                   0 A7210 Medical Malpractice - Physicians & Surgeons                                   1, 4, 11
                    Medical Malpractice(45)
                                                   0 A7240 Other Professional Health Care Malpractice                                    1 , 4, 11


                                                   0 A7250 Premises Liability (e.g., slip and fall)
                         Other Personal
                         I njury Property          0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                         1, 4, 11
                        Damage Wrongful                    assault, vandalism, etc.)
                            Death (23)                                                                                                   1, 4, 11
                                                   0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                        1411
                                                   0 A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3

   For Mandatory Use
                                                     AND STATEMENT OF LOCATION                                                          Page 1 of 4


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SHORT TITLE:                                                                                              CASE NUMBER
                        Bermejo vs. Tiffany and Company


                                      A                                                           B .                                           C Applicable
                            Civil Case Cover Sheet    .                                    Type of Action                                    Reasons - See Step 3
                                  Category No.                                            (Check only one)                                         Above

                              Business Tort(07)           0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)               1, 2,3

                               Civil Rights (08)          0 A6005 Civil Rights/Discrimination                                               1, 2,3

                               Defamation(13)             0 A6010 Defamation (slander/libel)                                                1, 2,3

                                  Fraud (16)              0 A6013 Fraud (no contract)                                                       1,2,3

                                                          0 A6017 Legal Malpractice                                                         1,2,3
                         Professional Negligence(25)
                                                           CI A6050 Other Professional Malpractice (not medical or legal)                    1, 2,3

                                  Other(35)               0 A6025 Other Non-Personal Injury/Property Damage tort                             1, 2,3

                          Wrongful Termination (36)       0 A6037 Wrongful Termination                                                       1, 2,3
                                                                                                                                           -
                                                          0 A6024 Other Employment Complaint Case                                          1, 2,3
                           Other Employment(15)                                                                                            -
                                                          0 A6109 Labor Commissioner Appeals                                               10

                                                          0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                            2, 5
                                                                  eviction)
                         Breach of Contract/ Warranty                                                                                       2, 5
                                    (06)                  0 A6008 ContractNVarranty Breach -Seller Plaintiff(no fraud/negligence)
                              (not insurance)                                                                                                1, 2,5
                                                          0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                             1, 2,5
                                                          0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                          CI A6002 Collections Case-Seller Plaintiff                                        5, 6, 11
                               Collections(09)
    0                                                     CI A6012 Other Promissory Note/Collections Case                                   5, 11
    C
                                                          CI   A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt              5, 6, 11
                                                                     Purchased on or after January 1, 2014)

                           Insurance Coverage(18)         0 A6015 Insurance Coverage (not complex)                                          1, 2, 5, 8

                                                          0 A6009 Contractual Fraud                                                         1, 2, 3, 5
                             Other Contract(37)           0 A6031 Tortious Interference                                                     1, 2, 3, 5
                                                          0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8,9

                           Eminent Domain/Inverse
                                                          0 A7300 Eminent Domain/Condemnation                Number of parcels              2, 6
                             Condemnation (14)

                            Wrongful Eviction (33)        0 A6023 Wrongful Eviction Case                                                    2, 6

                                                          CI A6018 Mortgage Foreclosure                                                     2,6
                           Other Real Property(26)        0 A6032 Quiet Title                                                               2,6
                                                          0 A6060 Other Real Property(not eminent domain, landlord/tenant, foreclosure)     2,6

                         Unlawful Detainer-Commercial
                                                      0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                  6, 11
                                     (31)
    Unlawful Detainer




                         Unlawful Detainer-Residential
                                                          0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)             6, 11
                                    (32)
                             Unlawful Detainer-
                                                          0 A6020F Unlawful Detainer-Post-Foreclosure                                       2, 6, 11
                            Post-Foreclosure(34)

                         Unlawful Detainer-Drugs(38)      0 A6022 Unlawful Detainer-Drugs                                                   2, 6, 11



                                                          CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
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                                                             AND STATEMENT OF LOCATION                                                      Page 2 of 4
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SHORT TITLE:                               Bermejo vs. Tiffany and Company                                                  CASE NUMBER




                                             .            A                                              '          B                                C Applicable
                                                 Civil Case Cover Sheet                                       Type of Action                      Reasons - See Step 3
                                                  _ Category No. •                 -        '                (Check only one) -                         Above

                                                  Asset Forfeiture(05)       0 A6108 Asset Forfeiture Case                                        2, 3,6

                                              Petition re Arbitration (11)   0 A6115 Petition to Compel/ConfirmNacate Arbitration                 2,5
       Judicial Review




                                                                             CI A6151 Writ - Administrative Mandamus                              2,8
                                                  Writ of Mandate(02)        0 A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                             CI A6153 Writ - Other Limited Court Case Review                      2

                                             Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                  2,8

                                            Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                     1, 2,8
        Provisionally Complex Litigation




                                              Construction Defect(10)        0 A6007 Construction Defect                                           1, 2, 3

                                             Claims Involving Mass Tort
                                                                             0 A6006 Claims Involving Mass Tort                                    1, 2,8
                                                       (40)

                                              Securities Litigation (28)     0 A6035 Securities Litigation Case                                   1, 2,8

                                                      Toxic Tort
                                                                             0 A6036 Toxic Tort/Environmental                                      1, 2, 3,8
                                                  Environmental(30)

                                             Insurance Coverage Claims
                                                                             0 A6014 Insurance Coverage/Subrogation(complex case only)             1, 2, 5,8
                                               from Complex Case (41)

                                                                             0 A6141 Sister State Judgment                                        2, 5, 11
                                                                             0 A6160 Abstract of Judgment                                         2.6

                                                     Enforcement             0 A6107 Confession of Judgment(non-domestic relations)               2, 9
                                                   of Judgment(20)           0 A6140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                                             0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                             0 A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                       RICO (27)             0 A6033 Racketeering (RICO)Case                                      1, 2, 8
   Civil Complaints
    Miscellaneous




                                                                             0 A6030 Declaratory Relief Only                                      1, 2,8

                                                 Other Complaints            0 A6040 Injunctive Relief Only(not domestic/harassment)              2,8
                                             (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2,8
                                                                             0 A6000 Other Civil Complaint(non-tort/non-complex)                  1, 2,8

                                               Partnership Corporation
                                                                             0 A6113 Partnership and Corporate Governance Case                    2, 8
                                                  Governance(21)

                                                                             CI A6121 Civil Harassment With Damages                               2, 3,9
   Miscellaneous
   Civil Petitions




                                                                             0 A6123 Workplace Harassment With Damages                            2, 3,9
                                                                             0 A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                                  Other Petitions (Not
                                                 Specified Above)(43)        0 A6190 Election Contest                                             2
                                                                             0 A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                             0 A6170 Petition for Relief from Late Claim Law                      2, 3,8
                                                                             0 A6100 Other Civil Petition                                         2, 9




                                                                             CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
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                                                                                AND STATEMENT OF LOCATION                                         Page 3 of 4
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 SHORT TITLE:   Bermejo vs. Tiffany and Company                                      CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:

    21.02.33.04.05.06.07. 08.0 9.010.011.


   CITY:                                   STATE:   ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                         District of
           the Superior Court of California, County of Los Angeles[Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: July 26, 2021
                                                                                 (SIGNATURE OF ATTORNEY/FILI   PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.
      4.• Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                         CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
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                                            AND STATEMENT OF LOCATION                                                 Page 4 of 4
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          NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY OR PARTY WITHOUT ATTORNEY:   STATE BAR NUMBER:             Reserved for Clerk's File Stamp
          Edwin Aiwazian                                                                 232943
          LAWYERS for JUSTICE, PC
          410 West Arden Avenue, Suite 203
          Glendale, California 91203
                                                                                                                         FILED
                                                                                                                 Superior Court of California
          ATTORNEYFOR(Name): Plaintiff Tim Bermejo
                                                                                                                    County of Los Angeles
                                                                                                                                  •
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          COURTHOUSEADDRESS:                                                                                             AUG 02 2.021
          111 North Hill Street, Los Angeles, CA 90012
          PLAINTIFF/PETITIONER:                                                                            StterrtEL Olt,Executive Officer/Cler
          Tim Bermejo                                                                                       By       -
          oEFENoANTinEspoNDENT:                                                                                          T. Bivins              .
          Tiffany And Company
                                                                                                             CASE NUMBER:
                      ' PEREMPTORY CHALLENGE TO JUDICIAL OFFICER
                                                                                                                 21STCV27417
                                         (Code Civ. Proc.,§ 170.6)


                                  Name of Judicial Officer:(PRINT)                                 Dept. Number:

                                  Honorable Amy D. Hogue                                           SSC7



                                      ki Judge                         Li Commissioner                     U Referee

          I am a party (or attorney for a party) to this action or special proceeding. The judicial officer named
          above, before whom the trial of, or a hearing in, this case is pending, or to whom it has been
          assigned, is prejudiced against the party (or his or her attorney) or the interest of the party (or his or
          her attorney), so that declarant cannot, or believes that he or she cannot, have a fair and impartial
          trial or hearing before the judicial officer.



                                                                     DECLARATION
          I declare under penalty of perjury, under the laws of the State of California, that the
          information entered on this form is true and correct.
                                      Tim Bermejo
          Filed on behalf of:                                                     0 Plaintiff/Petitioner         0 Cross Complainant
                                             Name of Party                        0 Defendant/Respondent         0 Cross Defendant
                                                                                  0 Other:

                       July 30, 2021
          Dated:
4:57,CO                                                                           Signature of Declarant
                                                                                  Edwin Aiwazian

                                                                                  Printed Name




          LACIV 015(Rev. 12-14)               PEREMPTORY CHALLENGE TO JUDICIAL OFFICER                                                Code Civ. Proc..§ 170.6
          LASC Approved 04-04
          For Optional Use                             (Code Civ. Proc.,§ 170.6)




                                                                   EXHIBIT A - Page 36
 Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 37 of 56 Page ID #:52


    SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES                                                  --
                         Civil Division
                    Central District, Spring Street Courthouse, Department 15

21STCV27417                                                                         August 16,2021
TIM BERMEJO vs TIFFANY AND COMPANY                                                         3:58 PM


Judge. onorable-David S-.Cunningham                CSR: None-
Judicial Assistant: I. Arellanes                   ERM:None
Courtroom Assistant: None                          Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Court Order Re. Case Reassignment;

This case was ordered transferred to the Assistant Supervising Judge of Complex Civil
Litigation, Judge David S. Cunningham in Department 15, for reassignment purposes only.

 The case is reassigned for the following reason: Peremptory Challenge to Judicial Officer Amy
_JD-Rogue. ____

Good cause appearing and on order of the Court, the above matter is reassigned at the direction
ofthe Supervising Judge to Judge Yvette M.Palazuelos in Department 9 at the Spring Street
Courthouse for all further proceedings.

Plaintiff is ordered to forthwith serve a copy ofthis minute order on all parties and file a proof of
service within seven(7)days of service.

Certificate of Mailing is attached.




                                           Minute Order                                  Page 1 of 1


                                      EXHIBIT A - Page 37
      Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 38 of 56 Page ID #:53


                                                                                   Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                       FILED
Spring Street Courthouse                                                         sive:tat Court of Cabfornla
                                                                                    County of(=Angeles
312 North Spring Street, Los Angeles, CA 90012
                                                                                        08/16/2021
PLAINTIFF/PET1TIONER:                                                       Setteri R. Ca .Exe:uere Off=/ CM*afCaw
Tim Bermejo                                                                   BY:
                                                                                            I. Arellaries   Dewy
  FFNIIANTIRE.SPONDENI:     _
Tiffany and Company
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV27417

I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order(Court Order Re. Case
Reassignment)of 08/1612021 upon each part/ or counsel named below by placing the document for
collection and mailing so as to cause it to be deposited in the United States mall at the courthouse in Los
Angeles, California, one copy of the original filed/entered herein In a separate sealed envelope to each
address as shown below with the postage thereon fully prepaid, in accordance with standard court
practices.




   Edwin Aiwazian
   LAWYERS for JUSTICE,PC
   410 Arden Ave
   Suite 203
   Glendale, CA 91203




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 08/17/2021                                     By: I. Arellanes
                                                          Deputy Clerk




                                      CERTIFICATE OF MAILING
                                          EXHIBIT A - Page 38
          Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 39 of 56 Page ID #:54

                                                                                                                                              COPY
                                                                                                                                                              CM-010
        ,OR PARTY WITHOUT ATTORNEY (Name, Slee Su number. end adcress)
 Al!CANE'                                                                                                                   FOR COURT USE ONLY
— Edwin Aiwazian (State Bar No. 232943)
     LAWYERS FOR JUSTICE. PC'
     4 10 West Arden Avenue, Suite 203                                                                               CO                    AL 7;a
     Ulendale, California 91203                                                                                               F
                                                                                                                              u      o
                                                                                                                                 itGyr
                                                                                                                               tn(3       IviuL,I.E:DFI4cIn`C.:117
                                                                                                                                      toslf
         T ELEpHowf vo 0I 8)265-1020                           FAX NO   (818)265-1021
    Af fORNEY FOR(Name)      rlaintiff Tim Bermejo
SUPERIOR COURT OF CALIFORNIA,COUNTY OF                   LOS ANGELES                                                  superiorJUL
                                                                                                                                          27 2()21
          STREET ADDRESS     I    ll North Hill Street
          MAILING ADDRESS
         CITY AND ZIP CODE   Los Angeles, 90012                                                                sonR Cam,Execgtive Officelerk'
                                                                                                                                            cs C°
             GRANO-MAME      Stanley Mosk Courthouse
    CASE NAME.
    Bermejo vs. Tiffany and Company
   CIVIL CASE COVER SHEET
 61 Unlimited
    (Amount
    demanded
                          Limited
                         (Amount
                          demanded is
                                                     Complex Case Designation
                                                       Counter             Joinder
                                                Filed with first appearance by defendant
                                                                                         CASE KHMER



                                                                                          JUCOE
                                                                                                                 ati ST CV 27417
    exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)       CEPT'
                             Items 1-6 below must be completed(see instructions on page 2).
1 Check one box below for the case type that best describes this case:
     Auto Tort                                             Contract                                  Provisionally Complex Civil Litigation
                                                                 Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
     ..m. Auto (22)
     .
           Uninsured motorist (46)                         U      Rule 3.740 collections (09)               Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                     Other collections(09)              -
                                                                                                     1 1 Construction defect(10)
     DamagelWrongful Death) Tort                       L J Insurance coverage (18)                       Mass tort(40)
     I     Asbestos (04)                               U Other contract(37)                          U Securities litigation (28)
           Product liability (24)                      Real Property                                   Environmental/Toxic tort (30)
           Medical malpractice (45)                          Eminent domain/Inverse                   U1 Insurance coverage claims arising from the
     .
     I   I Other Pl/PDAND (23)                               condemnation (14)                           above listed provisionally complex case
                                                             VVrongful eviction (33)                     types (41)
      Non-PI/PO/WO(Other) Tort
           Business tort/unfair business practice (07)       Other real property (26)                 Enforcement of Judgment
           Civil rights (08)                           Unlawful Detainer                                    Enforcement ofjudgment(20)
           Defamation (13)                                   Commercial(31)                           Miscellaneous Civil Complaint
     EIiJ  Fraud (16)                                        Residential (32)                        E1 RICO (27)
              Intellectual properly (19)                          Drugs (38)                         LJ Other complaint (not specified above)(42)
              Professional negligence (25)                 Judicial Review                           Miscellaneous Civil Petition
              Other non-Pl/PDNVD tort (35)                        Asset forfeiture (05)
                                                                                                     U Partnership and corporate governance (21)
             loyment                                          Petition re: arbitration award (11)
     in  V
              Wrongful termination (36)
              Other employment (15)
                                                           UJ Writ of mandate (02)
                                                              Other judicial review (39)
                                                                                                       Other petition (not specified above)(43)



2     This case   I v is       I I is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      aa       Large number of separately represented parties       d.           ED
                                                                             Large number of witnesses
      D        Extensive motion practice raising difficult or novel e. El Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
      c v Substantial amount of documentary evidence                f. U Substantial postjudgment judicial supervision
3 Remedies sought (check all that apply): a.71 monetary b.T         ']nonmonetary; declaratory or injunctive relief                              c. E]punitive
4 Number of causes of action (specify): Ten
5 This case El is       ri is not a class action suit.
6 If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)

Date. July 26, 2021
Edwin Aiwazian
                                  (TYPE OR PRINT NAME)                                              (SIGNATURE OF PARTY     ATTORNEY FOR PARTY)
                                                                            NOTICE
.Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
  in sanctions
• File this cover sheet in addition to any cover sheet required by local court rule
• If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
  other parties to the action or proceeding.
• Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only
                                                                                                                                                        Page 1 of 2
 yrn AdOp!ed lot mandato( y Use                                                                                 Cal Roes of Cowl Wes 2 30,3 220. 3 400-3 403. 1740
  Assosi Counci al Cattornis                               CIVIL CASE COVER SHEET                                     Cal Standard& 01 JucliGal AdmoNstration. std 310
  CM 010'Rev hly I 2007)                                                                                                                           wyew,courtnfo co goy




                                                               EXHIBIT A - Page 39
             Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 40 of 56 Page ID #:55

                                                                                                                                     CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property             Breach of Contract/Warranty(06)                Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                           Contract (not unlawful detainer            Construction Defect(10)
         case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort(40)
         motorist claim subject to                      Contract/Warranty Breach—Seller                 Securities Litigation (28)
         arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
         instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDNVD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of ContractNVarranty                   case type listed above)(41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos(04)                                        book accounts)(09)                             Enforcement of Judgment(20)
         Asbestos Property Damage                        Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
                                                         Other Promissory Note/Collections                         County)
         Asbestos Personal Injury/
              Wrongful Death                                 Case                                            Confession of Judgment(non-
    Product Liability (not asbestos or              Insurance Coverage (not provisionally                          domestic relations)
         toxic/environmental)(24)                       complex)(18)                                         Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                                     Administrative Agency Award
         Medical Malpractice—                           Other Coverage                                          (not unpaid taxes)
               Physicians & Surgeons                Other Contract(37)                                       Petition/Certification of Entry of
         Other Professional Health Care                 Contractual Fraud                                         Judgment on Unpaid Taxes
               Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                Real Property                                                      Case
    Other PI/PD/VVD (23)
         Premises Liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
              and fall)                                 Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint(not specified
                                                                                                             above)(42)
              (e.g., assault, vandalism)            Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                                                                           Declaratory Relief Only
                                                        Writ of Possession of Real Property                  I njunctive Relief Only (non-
               Emotional Distress                        Mortgage Foreclosure
                                                                                                                   harassment)
         Negligent Infliction of                        Quiet Title
               Emotional Distress                                                                            Mechanics Lien
                                                        Other Real Property (not eminent
         Other PI/PD/WD                                                                                      Other Commercial Complaint
                                                        domain, landlord/tenant, or
                                                        foreclosure)                                               Case (non-tort/non-complex)
Non-PUPD/WD (Other) Tort
                                                                                                             Other Civil Complaint
    Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                 (non-tort/non-complex)
        Practice (07)                               Commercial (31)
                                                                                                    Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
        false arrest)(not civil                     Drugs (38)(if the case involves illegal                  Governance (21)
         harassment)(08)                                drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above)(43)
         (13)                                   Judicial Review                                              Civil Harassment
    Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
    Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
        Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
        Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
           (not medical or legal)                           Case Matter                                      Petition for Relief From Late
     Other Non-PUPD/WD Tort(35)                         Writ—Other Limited Court Case                              Claim
Employment                                                  Review                                           Other Civil Petition
    Wrongful Termination (36)                       Other Judicial Review (39)
    Other Employment(15)                                Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010[Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                    CIVIL CASE COVER SHEET


                                                       EXHIBIT A - Page 40
          Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 41 of 56 Page ID #:56

                                                                                                   Reserved tor Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                        FILED
 Spring Street Courthouse                                                                      Swaim C.ouit of California
                                                                                                   County of LosAngeles
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                       07/27/2021
                   NOTICE OF CASE ASSIGNMENT                                                   R Curter.Eirmuiva Mar QeolCesi
                                                                                                          S. Mow       oepuly
                         UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21STCV27417

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                    ASSIGNED JUDGE                        DEPT         ROOM
   tr/   Amy D. Hogue                       7




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 07/27/2021                                                         By S. Drew                                             , Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                      EXHIBIT A - Page 41
           Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 42 of 56 Page ID #:57

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
.Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days ofthe filing date and a proof ofservice filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06

                                                       EXHIBIT A - Page 42
 Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 43 of 56 Page ID #:58

    SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                         Civil Division
                     Central District, Spring Street Courthouse, Department 7

21STCV27417                                                                           August 4,2021
TIM BERMEJO vs TIFFANY AND COMPANY                                                •       11:39 AM


Judge: Honorable Amy D. Hogue                       CSR: None
Judicial Assistant: A; Morales-                     ERM: None
Courtrobrit Assistant: T. Bivins----               —Deputy-Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order Re: Peremtory Challenge to Judicial Officer
(Code of Civ. Proc. 170.6)

The Court reviews the Peremptory Challenge filed by Tim Bermejo (Plaintiff) on 08/02/2021
pursuant to Code of Civil Procedure section 170.6 and finds that it was timely filed, in proper
format, and is accepted.

The case is ordered transferred to Judge David S. Cunningham in Department 15 at the Spring
Street-Courthouse for reassignment purposes ouly. -

Counsel for plaintiff is ordered to give notice.

Certificate of Mailing is attached.




                                           Minute Order                                  Page 1 of 1



                                       EXHIBIT A - Page 43
     Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 44 of 56 Page ID #:59

                                                                                    Reserved for Cleric's Fite Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                       FILED
Spring Street Courthouse                                                           swot,/ Court of California
                                                                                     County of Los Angeles
312 North Spring Street, Los Angeles, CA 90012
                                                                                         08/04/2021
PLAINTIFF/PETITIONER:                                                       Stern R Cal.£en:t.101•C(MoorF Oct& et Cow
Tim Bermejo                                                                  By:            A Morales            Detkity
DEFENDANT/RESPONDENT:
Tiffany and Company
                                                                           -CASE,NUMBER;---
                        CERTIFICATE OF MAILING                              21STCV27417


I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order(Court Order Re: Peremtory
Challenge to Judicial Officer (Code...) of 08104/2021 upon each party or counsel named below by placing
the document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Edwin Aiwazian
    LAWYERS for JUSTICE,PC
    410 Arden Ave
    Suite 203
    Glendale, CA 91203




                                                     Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 08/4/2021                                      By: A. Morales
                                                          Deputy Clerk




                                      CERTIFICATE OF MAILING
                                         EXHIBIT A - Page 44
         Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 45 of 56 Page ID #:60




                                      VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                         The Early Organizational Meeting Stipulation, Discovery
                                      Resolution Stipulation, and Motions in Limine Stipulation are
—Superior Court of California         voluntary stipulations entered into by the parties. The parties
 County of Los Angeles

                                      may enter into one, two, or all three of the stipulations;
                                      however, they may not alter the stipulations as written,
                                      because the Court wants to ensure uniformity of application.
    Los Angeles County
    Bar Association                   These stipulations are meant to encourage cooperation
    Litigation Section

    Los Angeles County
                                      between the parties and to assist in resolving issues in a
    Bar Association Labor and
    Employment Law Section            manner that promotes economic case resolution and judicial
                                      efficiency.

                                          The    following   organizations endorse      the   goal of
    Consumer Attorneys
    Association of Los Angeles        promoting efficiency in litigation and ask that counsel
                                      consider using these stipulations as a voluntary way to
                                      promote communications and procedures among counsel
                                      and with the court to fairly resolve issues in their cases.

                                      •Los Angeles County Bar Association Litigation Section*
    Southern California
    Defense Counsel
                                                •Los Angeles County Bar Association

         40   310411i0.
                      17111 1.4.11.
                                                    Labor and Employment Law Section•

    Association of
    Business Trial Lawyers                *Consumer Attorneys Association of Los Angeles*


                                                *Southern California Defense Counsel*


                                                *Association of Business Trial Lawyers*

     California Employment
     Lawyers Association
                                           *California Employment Lawyers Association•


        LACIV 230(NEW)
        LASC Approved 4-11
        For Optional Use



                                                      EXHIBIT A - Page 45
           Case 2:21-cv-07767 Document 1-1 Filed 09/29/21 Page 46 of 56 Page ID #:61




NAME AND ADDRESS OF ATTORNEY OR PARTY %MTH= ATTORNEY.                STATE BAR NUMBER           R mewed to Octit's Fib Stomp




         TELEPHONE NO.:                                 FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:

DEFENDANT:

                                                                                        CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g.    Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
        LAC1V 229(Rev 02/15)
        LASC Approved 04/11             STIPULATION — EARLY ORGANIZATIONAL MEETING
        For Optional Use                                                                                                Page 1 of 2




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S'-IORT TITLE:                                                                      CASE NUMBER




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which such computation is based;

     - i.        Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                 www.lacourtora under "Civil" and then under "General Information").

2.               The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                             for the cross-
                         (INSERT DATE)                                        (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourt.ora under "Civil",
                 click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.               The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                 results of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMC
                 statement is due.

4.               References to "days" mean calendar days, unless otherwise noted. If the date for performing
                 any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                 for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:

                    (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:

                    (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR
 Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
 Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


  LACIV 229(Rev 02/15)
  LASC Approved 04/11           STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2




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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER           Roomed for Moles Fie Ramo




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                     STIPULATION — DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       I.      File a Request for Informal Discovery Conference with the clerk's office on the
                               approved form (copy attached) and deliver a courtesy, conformed copy to the
                               assigned department;

                       ii.     Include a brief summary of the dispute and specify the relief requested; and

                      iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for Informal Discovery
                               Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                        i.      Also be filed on the approved form (copy attached);

                       ii.      Include a brief summary of why the requested relief should be denied;
         LACIV 036(new)
         LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
         For Optional Use                                                                                             Page 1 of 3




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SKORT TITLE!                                                                 CASE NUMBER:




                     Be filed within two (2)court days of receipt of the Request; and

               iv.   Be served on the opposing party pursuant to any authorized or agreed upon
                     method of service that ensures that the opposing party receives the Answer no
                     later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



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  LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                             Page 2 of 3




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  SHORT TITLE:                                                      CASE NUMBER:




  The following parties stipulate:

  Date:

                 (TYPE OR PRINT NAME)
                                  _   _                           (ATTORNEY FOR PLAINTIFF)
— Date:

                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR
   Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR




    LACIV 036(new)
    LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                         Page 3 of 3




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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Remised for Clerk's Fie Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA; COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                     CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                  11 1        Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                                        (insert date 10 calendar days following filing of
             the Request).
       3. Deadline for Court to hold Informal Discovery Conference:                                               (insert date 20 calendar
             days following filing of the Request).

       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery, including the facts and legal arguments at issue.




        LACIV 094(new)
        LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
        For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)




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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER           Reserve:II.Clak'sFd.Stmnp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:

DEFENDANT:

                                                                                          CASE NUMBER:
               STIPULATION AND ORDER — MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

              a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                 stipulate, they may file a stipulation and proposed order with the Court.

              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the short joint statement of
                  issues.

        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



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         LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN LIMINE
         For Optional Use                                                                                             Page lot 2




                                                              EXHIBIT A - Page 52
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SHORT TITLE,                                                      CASE NUMBER:




The following parties stipulate:

Date:

               _(TYPE OR PRINT NAME)—                         (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                    (ATTORNEY FOR



 THE COURT SO ORDERS.

   Date:
                                                                   JUDICIAL OFFICER




  LACIV 075(new)
  LASC Approved 04/11     STIPULATION AND ORDER — MOTIONS IN LIMINE                      Page 2 of 2




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                                                                  LOS ANGELES SUPERfOR
                                                                                          COURT

                                                                           MAY 1 1 2011
                                                                      JOHND,,CLA=ERK

                                                                   BY NAICAARRO.
                                                                                DEPUTY



                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                             FOR THE COUNTY OF LOS ANGELES


     General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11   Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                               )    TO EARLY ORGANIZATIONAL
12                                             )    MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for
17

18   use in general jurisdiction civil litigation in Los Angeles County;
19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23
     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
      promote communications and procedures among counsel and with the court to fairly
27
      resolve issues in their cases;"
28

                                                   -1-

                                ORDER PURSUANT TO CCP 1054(a)



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            Whereas the Early Organizational Meeting Stipulation is intended to encourage

     . cooperation among the parties at an early stage in litigation in order to achieve

     litigation efficiencies;

         - --Whereas it is intended that use of the Early Organizational Meeting Stipulation
5
     will promote economic case resolution and judicial efficiency;
6
             Whereas, in order to promote a meaningful discussion of pleading issues at the

      Early Organizational Meeting and potentially to reduce the need for motions to

     challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
      Organizational Meeting before the time to respond to a complaint or cross complaint
11
      has expired;
12

13           Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14    which an action is pending to extend for not more than 30 days the time to respond to
15
      a pleading "upon good cause shown";
16
             Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
      days the time to respond to a complaint or to a cross complaint in any action in which
18

19    the parties have entered into the Early Organizational Meeting Stipulation. This finding

20    of good cause is based on the anticipated judicial efficiency and benefits of economic
21
      case resolution that the Early Organizational Meeting Stipulation is intended to
22
      promote.
23
             IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25    into an Early Organizational Meeting Stipulation, the time for a defending party to
26    respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                  -2-

                                 ORDER PURSUANT TO CCP 1054(a)



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       by Code of Civil Procedure section 1054(a)without further need
                                                                        of a specific court
       order_




                                              Carolyn B.K      Supervising Judge of the
                                              Civil Departments, Los Angeles Superior Court




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                              ORDER PURSUANT TO CCP 1054(a)




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